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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  Jointly Administered
                                   Debtors.
                                                                  Re: D.I. ___



       ORDER GRANTING HARTFORD ACCIDENT AND INDEMNITY COMPANY,
       FIRST STATE INSURANCE COMPANY AND TWIN CITY FIRE INSURANCE
       COMPANY’S MOTION TO COMPEL ABUSED IN SCOUTING AND KOSNOFF
                 LAW PLLC TO SUBMIT RULE 2019 DISCLOSURES

             Upon the motion (the “Motion”)2 of Hartford Accident and Indemnity Company, First State

Insurance Company and Twin City Fire Insurance Company (collectively, “Hartford”) seeking

entry of an order (this “Order”) (i) compelling AIS and Kosnoff Law to make the disclosures that

Federal Rule of Bankruptcy Procedure 2019 requires; and (iii) granting related relief; all as more

fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and that this Court may enter

a final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the Hartford’s notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other



1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.



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notice need be provided; and this Court having reviewed the Motion; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Within five (5) business days of the entry of this Order, AIS and Kosnoff Law shall

make the disclosures required under rule 2019 of the Federal Rules of Bankruptcy Procedure.

       3.      Hartford is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Motion.

       4.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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